       Case 1:20-cv-05593-RA-GWG Document 191 Filed 11/15/21 Page 1 of 11



 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------- X
                                                                           :
 JENNIFER ECKHART,                                                         :   Case No. 1:20-cv-05593
                                        Plaintiff,                         :   (RA)(GWG)
                                                                           :
                    v.                                                     :         STIPULATED
                                                                           :       CONFIDENTIALITY
                                                                           :       AGREEMENT AND
 FOX NEWS NETWORK, LLC and ED HENRY,                                       :      PROTECTIVE ORDER
 in his individual and professional capacities,                            :
                                                                           :
                                        Defendants.                        :
-------------------------------------------------------------------------- X
          WHEREAS, the parties to this action (collectively the “Parties” and individually a

“Party”) request that this Court issue a protective order pursuant to Federal Rule of Civil Procedure

26(c) to protect the confidentiality of nonpublic, confidential and/or otherwise sensitive

information that they may need to disclose in connection with this action;

          WHEREAS, the Parties, through counsel, agree to the following terms; and

          WHEREAS, this Court finds good cause exists for issuance of an appropriately tailored

confidentiality order governing this action,

          IT IS HEREBY ORDERED that any person subject to this Order – including without

limitation the Parties to this action (including their respective successors and assigns), their

representatives, agents, experts and consultants, all third parties providing discovery or other

material in this action, and all other interested persons with actual or constructive notice of this

Order – will adhere to the following terms:

       1.           With respect to “Discovery Material” (i.e., documents and/or information of any

kind produced or disclosed in the course of this action) that a person has designated as

“Confidential” or “Highly Confidential” pursuant to this Order, no person subject to this Order

may disclose such Confidential or Highly Confidential Discovery Material to anyone else except
     Case 1:20-cv-05593-RA-GWG Document 191
                                        190 Filed 11/15/21 Page 2 of 11




as this Order expressly permits, including, but not limited to, by filing any such material to the

public docket.

     2.          The Party or person producing or disclosing Discovery Material (“Producing

Party”) may designate as Confidential, within the meaning of Rule 26(c) of the Federal Rules of

Civil Procedure, any Discovery Material or portion of Discovery Material that contains non-

public, confidential, and/or otherwise sensitive business, commercial, financial, or personal

information, the public disclosure of which is either restricted by law or could, in the good faith

opinion of the producing person, adversely affect a person’s privacy obligations or policies,

business, commercial, financial, or personal interests.

     3.          The Producing Party may designate as Highly Confidential any Discovery

Material or portion of Discovery Material that contains (i) highly sensitive confidential personal

information or (ii) highly sensitive confidential or proprietary business information, a trade

secret or other commercial or financial information that the Producing Party, in good faith,

believes would result in competitive or commercial harm in the market place if the information

were disseminated to persons other than the Parties, the Parties’ internal counsel and/or counsel

retained specifically for this action, including any paralegal, clerical or other assistant employed

by such counsel and assigned specifically to work on this action. Any Party who requests

additional limits on disclosure (such as “attorneys’ eyes only” in extraordinary circumstances),

may at any time before the trial of this action serve upon counsel for the recipient Parties a

written notice stating with particularity the grounds of the request. To the extent a party wishes

to mark a document “Highly Confidential – Attorneys’ Eyes Only,” the parties will seek

agreement on which other persons, if any, may see that document. If the Parties cannot reach

agreement promptly, counsel for all affected Parties will address their dispute to this Court in



                                                  2
      Case 1:20-cv-05593-RA-GWG Document 191
                                         190 Filed 11/15/21 Page 3 of 11




accordance with paragraph 2(A) of Judge Gorenstein’s Individual Practices. The burden remains

on the party asserting that the document, recording or information should be designated as

“Highly Confidential-Attorneys’ Eyes Only” to demonstrate that such documents, recordings or

information warrants the designation under this Agreement.

      4.        Because the designation of Discovery Materials as Confidential or Highly

Confidential may impose costs and/or other burdens on the Parties, Producing Parties shall only

use such designations if and only if that Party believes in good faith that the Information satisfies

the definitions of Confidential Information or Highly Confidential as set forth in Paragraphs 2

and 3.

      5.        With respect to the Confidential or Highly Confidential portion of any Discovery

Material other than deposition transcripts and exhibits, the Producing Party or its counsel may

designate such portion as “Confidential” or “Highly Confidential” by stamping or otherwise

clearly marking as “Confidential” or “Highly Confidential” the protected portion in a manner

that will not interfere with legibility or audibility.

      6.        A Producing Party or its counsel may designate deposition exhibits or portions of

deposition transcripts as Confidential or Highly Confidential Discovery Material by indicating

on the record during the deposition that a question calls for Confidential or Highly Confidential

information, in which case the reporter will bind the transcript of the designated testimony in a

separate volume and mark it as “[Highly] Confidential Information Governed by Protective

Order.”

      7.        If at any time before the trial of this action a Producing Party realizes that it

should have designated as Confidential or Highly Confidential some portion(s) of Discovery

Material that it previously produced without limitation, the Producing Party may so designate



                                                    3
     Case 1:20-cv-05593-RA-GWG Document 191
                                        190 Filed 11/15/21 Page 4 of 11




such material by so apprising all prior recipients in writing. Thereafter, this Court and all

persons subject to this Order will treat such designated portion(s) of the Discovery Material as

Confidential or Highly Confidential.

     8.        Nothing contained in this Order will be construed as: (a) a waiver by a Party or

person of its right to object to any discovery request; (b) a waiver of any privilege or protection;

or (c) a ruling regarding the admissibility at trial of any document, information, testimony or

other evidence.

     9.        Similarly, nothing herein shall be construed to affect in any manner the

admissibility at any evidentiary hearing or trial of any documents or information.

    10.        Where a Producing Party has designated Discovery Material as Confidential or

Highly Confidential, other persons subject to this Order may disclose such information only to

the following persons:

                   a. the Parties to this action, including employees of each Party where such

                         disclosure is reasonably necessary to support the prosecution or defense of

                         this case;

                   b. counsel of record in this action, including any paralegal, clerical or other

                         assistant that such counsel of record employs or contracts with and/or

                         assigns to this matter, as well as internal counsel who are employees of

                         each Party;

                   c. outside vendors or service providers (such as copy-service providers and

                         document-management consultants) that counsel hire and assign to this

                         matter;




                                                  4
Case 1:20-cv-05593-RA-GWG Document 191
                                   190 Filed 11/15/21 Page 5 of 11




          d. as to any document, its author, its addressee, and any other person

             indicated on the face of the document as having received a copy;

          e. any witness who counsel for a Party in good faith believes may be called

             to testify at trial or deposition in this action regarding the Discovery

             Material, provided such person has first executed a Non-Disclosure

             Agreement in the form annexed as an Exhibit hereto (however, to the

             extent a witness is called for a deposition and has not previously been

             required to execute the annexed Non-Disclosure Agreement pursuant to

             this Paragraph 10(e) and is not otherwise bound to this Order under

             Paragraph 10, the witness must affirm on the record that they will be

             bound by this Order);

          f. any person a Party retains to serve as an expert witness or otherwise

             provide specialized advice to counsel in connection with this action,

             provided such person has first executed a Non-Disclosure Agreement in

             the form annexed as an Exhibit hereto;

          g. stenographers engaged to transcribe depositions the Parties conduct in this

             action;

          h. this Court, including any appellate court, its support personnel, and court

             reporters and;

          i. Any mediator retained by the Parties or appointed by the Court, and

             employees of such mediator who are assisting in the conduct of the

             mediation.




                                        5
      Case 1:20-cv-05593-RA-GWG Document 191
                                         190 Filed 11/15/21 Page 6 of 11




    11.        Counsel must retain each signed Non-Disclosure Agreement, hold it in escrow,

and produce it to opposing counsel upon request.

    12.        Any party seeking to file any Confidential or Highly Confidential documents

must notify the Producing Party, whose responsibility it will be to request the sealing of such

documents and follow the procedures outlined in Magistrate Judge Gabriel W. Gorenstein’s

Individual Practices, Rule 2(E).

    13.        Any Party who objects to any designation of confidentiality may at any time

before the trial of this action serve upon counsel for the Producing Party a written notice stating

with particularity the grounds of the objection. If the Parties cannot reach agreement promptly,

counsel for all affected Parties will address their dispute to this Court. The burden remains on

the party asserting that the document, recording or information should be designated as

“Confidential” or “Highly Confidential” to demonstrate that such documents, recordings or

information warrants the designation and protections under this Agreement.

    14.        Recipients of Confidential or Highly Confidential Discovery Material under this

Order may use such material solely for the prosecution and defense of this action and any

appeals thereto, and not for any business, commercial, or competitive purpose or in any other

litigation, arbitration, or other proceeding. Nothing contained in this Order, however, will affect

or restrict the rights of any Party with respect to its own documents or information produced in

this action.

    15.        Nothing in this Order will prevent any Party from producing any Confidential or

Highly Confidential Discovery Material in its possession in response to a lawful subpoena or

other compulsory process, or if required to produce by law or by any government agency having

jurisdiction, provided that such Party gives written notice to the Producing Party as soon as



                                                 6
     Case 1:20-cv-05593-RA-GWG Document 191
                                        190 Filed 11/15/21 Page 7 of 11




reasonably possible, and if permitted by the time allowed under the request, at least 10 calendar

days before any disclosure, provided that the nothing herein requires any Party to be in default of

any subpoena. Upon receiving such notice, the Producing Party will bear the burden to oppose

compliance with the subpoena, other compulsory process, or other legal notice if the Producing

Party deems it appropriate to do so.

    16.        Each person who has access to Discovery Material designated as Confidential or

Highly Confidential pursuant to this Order must take all due precautions to prevent the

unauthorized or inadvertent disclosure of such material.

    17.        Within ninety (90) days of the final disposition of this action — including all

appeals — all recipients of Confidential or Highly Confidential Discovery Material must either

return it — including all copies thereof — to the Producing Party, or, upon permission of the

Producing Party, destroy such material — including all copies thereof. In either event, by the

90-day deadline, the recipient must certify its return or destruction by submitting a written

certification to the Producing Party that affirms that it has not retained any copies, abstracts,

compilations, summaries, or other forms of reproducing or capturing any of the Confidential or

Highly Confidential Discovery Material. Notwithstanding this provision, the attorneys that the

Parties have specifically retained for this action may retain an archival copy of all pleadings,

motion papers, transcripts, expert reports, legal memoranda, correspondence, or attorney work

product, and/or discovery, even if such materials contain Confidential or Highly Confidential

Discovery Material. Any such archival copies that contain or constitute Confidential or Highly

Confidential Discovery Material remain subject to this Order. This paragraph does not apply

to the Court, however.

    18.        Nothing shall prevent disclosure beyond the terms of this Order if all Parties

consent in writing to such disclosure or if so ordered by the Court.

                                                  7
     Case 1:20-cv-05593-RA-GWG Document 191
                                        190 Filed 11/15/21 Page 8 of 11




    19.        Notwithstanding the provisions hereof, nothing in this Order shall restrict any

Party’s outside counsel from rendering advice to its client(s) with respect to this Action, and in

the course thereof, relying upon Confidential or Highly Confidential Discovery Information,

provided that in rendering such advice, outside counsel shall not disclose any Confidential or

Highly Confidential Discovery Material other than as permitted by this Order.

    20.        This Order will survive the termination of the action and will continue to be

binding upon all persons to whom Confidential or Highly Confidential Discovery Material is

produced or disclosed.

    21.        Production of documents or information prior to the execution of this Order, or

inadvertent production of any documents or information, including not limited to that which is

disclosed during a deposition without a designation will not be deemed to waive a Party’s right

to subsequently designate said documents and information pursuant to this Order at a later date.

Disclosure of said documents or information by any Party prior to such later designation shall

not be deemed a violation of the provisions of this Order; provided, however, that the Party that

disclosed the redesignated documents or information shall make a reasonable effort to procure all

copies of such redesignated documents or information from any persons known to have

possession who are not entitled to receipt thereof under this Order and have such persons sign the

Non-Disclosure Agreement attached as Exhibit A hereto. In addition, the designating Party shall

provide the other Party with replacement versions of such documents that bear the

“Confidential” designation.

    22.        The inadvertent disclosure of privileged material by a producing person or its

counsel shall not constitute a waiver of any applicable privilege. Should counsel believe that

another party inadvertently produced a privileged document, counsel shall promptly notify the



                                                 8
     Case 1:20-cv-05593-RA-GWG Document 191
                                        190 Filed 11/15/21 Page 9 of 11




producing person. A producing person who inadvertently discloses material it claims to be

covered by a privilege shall give notice promptly after discovery of the inadvertent disclosure

that the material is privileged, and the material shall be returned or destroyed on request of the

producing person or counsel. Persons in receipt of inadvertently disclosed privileged information

shall not view the material upon receipt of notice of inadvertent disclosure from the producing

person or counsel. The Parties agree that motions to compel production on privilege designation

shall only use such information as reasonably necessary to identify the document and describe its

nature to the Judge or Magistrate Judge in any motion to compel production of the document. In

addition, the disclosure of Confidential Information pursuant to the procedures set forth in this

Order does not constitute a waiver of any trade secret or any intellectual property, proprietary, or

other rights to, or in, such information. It is expressly acknowledged that no such right or

interests shall be affected in any way by production of information designated Confidential

Information in the Litigation.

    23.        This Court will retain jurisdiction over all persons subject to this Order to the

extent necessary to enforce any obligations arising hereunder or to impose sanctions for any

contempt thereof.

    24.        The Parties acknowledge that the Court retains discretion as to whether, in Orders

and Opinions, to afford confidential treatment to information that the Parties have redacted,

sealed, or designated as confidential.



                 [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




                                                 9
    Case 1:20-cv-05593-RA-GWG Document 191
                                       190 Filed 11/15/21 Page 10 of 11




SO STIPULATED AND AGREED.

Dated: November 15, 2021
       New York, New York

PROSKAUER ROSE LLP                           WIGDOR LLP


/s/ Kathleen M. McKenna____         __       /s/ Douglas H. Wigdor
Kathleen M. McKenna, Esq.                    Douglas H. Wigdor, Esq.
Lloyd B. Chinn, Esq.                         Michael J. Willemin, Esq.
Keisha-Ann G. Gray, Esq.                     Renan F. Varghese, Esq.
Rachel S. Fischer, Esq.                      John S. Crain, Esq.
Yonatan Grossman-Boder, Esq.                 85 5th Avenue
11 Times Square                              Floor 5
New York, New York 10036                     New York, New York 10003
(212) 969-3000                               (212) 257-6800
kmckenna@proskauer.com                       dwigdor@wigdorlaw.com
Attorneys for Defendant                      Attorneys for Plaintiff
Fox News Network, LLC                        Jennifer Eckhart


MORVILLO ABRAMOWITZ GRAND
IASON & ANELLO PC

/s/ Catherine M. Foti____      __
Catherine M. Foti, Esq.
Elkan Abramowitz, Esq.
565 5th Avenue #9
New York, New York 10017
(212) 856-9600
cfoti@maglaw.com
Attorneys for Defendant
Ed Henry


Dated: New York, New York

November 15, 2021

                                         SO ORDERED.



                                         __________________________________
                                         Magistrate Judge Hon. Gabriel W. Gorenstein


                                           10
     Case 1:20-cv-05593-RA-GWG Document 191
                                        190 Filed 11/15/21 Page 11 of 11




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JENNIFER ECKHART,
                                                             Case No. 1:20-cv-05593 (RA)
                 Plaintiff,
                                                         NON-DISCLOSURE AGREEMENT
         - against -

 FOX NEWS NETWORK, LLC, and ED
 HENRY, in his individual and professional
 capacities,

                 Defendants.



        I, _______________________________, acknowledge that I have read and understand the

Protective Order in this action governing the non-disclosure of those portions of Discovery

Material that have been designated as [Highly] Confidential. I agree that I will not disclose such

[Highly] Confidential Discovery Material to anyone other than for purposes of this litigation and

that at the conclusion of the litigation I will return all discovery information to the Party or attorney

from whom I received it. By acknowledging these obligations under the Protective Order, I

understand that I am submitting myself to the jurisdiction of the United States District Court for

the Southern District of New York for the purpose of any issue or dispute arising hereunder and

that my willful violation of any term of the Protective Order could subject me to punishment for

contempt of Court.



Dated: _________________________                        _______________________________

                                                        Signature

                                                        _______________________________

                                                        Printed Name

                                                   11
